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    Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


    In re:                                                        §   Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §   Case No. 19-34054-sgj11
                                                                  §
                                      Debtor.                     §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                  §   Adv. Proc. No. 21-03003-sgj
                                                                  §
                                                                  §   Civil Case No. 3:21-CV-01010-E

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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                                 Plaintiff,              §
 v.                                                      §
                                                         §
 JAMES D. DONDERO,                                       §
                                                         §
                                 Defendant.              §
                                                         §


                  PLAINTIFF HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                       CERTIFICATE OF INTERESTED PERSONS

          Highland Capital Management, L.P. (“Plaintiff”), plaintiff in the above-referenced matter,

pursuant to Federal Rule of Civil Procedure 7.4 and LR 3.1(c) and LR 3.2(e) of the Local

Bankruptcy Rules for the Northern District of Texas, hereby submits the following Certificate of

Interested Persons (the “CIP”):

         1.      Highland Capital Management, L.P., Plaintiff in the above-referenced matter.

         2.      James D. Dondero, the Defendant in the above-referenced matter.

         3.      Plaintiff reserves the right to amend or supplement this CIP as and if necessary or

appropriate.




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 Dated: August 6, 2021.            PACHULSKI STANG ZIEHL & JONES LLP

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